Case 15-19333   Doc 1   Filed 06/02/15   Entered 06/02/15 15:02:51   Desc Main
                           Document      Page 1 of 6
Case 15-19333   Doc 1   Filed 06/02/15   Entered 06/02/15 15:02:51   Desc Main
                           Document      Page 2 of 6
Case 15-19333   Doc 1   Filed 06/02/15   Entered 06/02/15 15:02:51   Desc Main
                           Document      Page 3 of 6
Case 15-19333   Doc 1   Filed 06/02/15   Entered 06/02/15 15:02:51   Desc Main
                           Document      Page 4 of 6
Case 15-19333   Doc 1   Filed 06/02/15   Entered 06/02/15 15:02:51   Desc Main
                           Document      Page 5 of 6
Case 15-19333   Doc 1   Filed 06/02/15   Entered 06/02/15 15:02:51   Desc Main
                           Document      Page 6 of 6
